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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                        MDL No. 3:16-md-02738-MAS-
    TALCUM POWDER PRODUCTS                          RLS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY                          Honorable Michael A. Shipp
    LITIGATION
    ________________________________

    This relates to certain cases previously        RESPONSE TO ORDER TO
    represented by Robinson Calcagnie, Inc.         DISMISS THE CASES LISTED
    and/or Lenze Lawyers, PLC in Dkt.               ON EXHIBIT A SUBJECT TO
    39414 Exhibit A                                 PLAINTIFF PROFILE FORM
                                                    ORDER TO SHOW CAUSE
                                                    (DKT. 39414)


        Daniel S. Robinson of Robinson Calcagnie, Inc., and Jennifer Lenze of Lenze

  Lawyers, PLC submit the following Response to the Court’s June 25, 2025 Order to

  Dismiss the Cases Listed on Exhibit A Subject to Plaintiff Profile Form Order to

  Show Cause (Dkt. 39414). Mark P. Robinson, Jr. of Robinson Calcagnie, Inc., and

  Jennifer Lenze of Lenze Lawyers, PLC filed motions to withdraw as counsel for the

  Plaintiffs listed in the chart below:

                                                                    Deadline for
                                                       Date          Plaintiff to
                                                     Motion to     Notify Court of
             Plaintiff              Case Number
                                                     Withdraw      New Counsel or
                                                     Granted       Proceeding Pro
                                                                         Per
   Buie, Katie                     3:21-cv-15596      5/23/2025            7/2/2025
   Crowe, Nancy                    3:21-cv-15617      5/23/2025            7/2/2025
   Doman, Danielle                 3:21-cv-13441      5/23/2025            7/2/2025
   Dugger, Katherine               3:21-cv-15561      5/23/2025            7/2/2025


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                                                            Deadline for
                                                Date         Plaintiff to
                                              Motion to    Notify Court of
           Plaintiff         Case Number
                                              Withdraw     New Counsel or
                                              Granted      Proceeding Pro
                                                                 Per
  Elliott, Misty Rose        3:21-cv-15193     5/23/2025           7/2/2025
  Falcon, Regina Whitaker    3:21-cv-15741     5/23/2025           7/2/2025
  Figures, Janice            3:21-cv-13441     5/23/2025           7/2/2025
  Herring, Tonya             3:21-cv-16052     5/23/2025           7/2/2025
  Hillin, Kathy              3:21-cv-13454     5/23/2025           7/2/2025
  Hord, Penny                3:21-cv-15674     5/23/2025           7/2/2025
  Howe, Maria                3:21-cv-13454     5/23/2025           7/2/2025
  Hunter, Lakesha            3:21-cv-13454     5/23/2025           7/2/2025
  Jamison, Donna             3:21-cv-13454     5/23/2025           7/2/2025
  Johnson, Tanjie            3:21-cv-15525     5/23/2025           7/2/2025
  Lansdale, Mary             3:21-cv-13450     5/23/2025           7/2/2025
  Logan, Stephanie           3:21-cv-15485     5/23/2025           7/2/2025
  Love, Rita                 3:21-cv-15742     5/23/2025           7/2/2025
  Martin, Claudia            3:21-cv-14785     5/23/2025           7/2/2025
  Martin, Sherry             3:21-cv-13450     5/23/2025           7/2/2025
  Masterson, Nina            3:21-cv-15623     5/23/2025           7/2/2025
  May, Michelle              3:21-cv-15610     5/23/2025           7/2/2025
  Moore, Pamula              3:21-cv-15658     5/23/2025           7/2/2025
  Myers, Maria               3:21-cv-15439     5/23/2025           7/2/2025
  Oropeza, Martha            3:21-cv-15807     5/23/2025           7/2/2025
  Petrefski, Marisol         3:21-cv-15464     5/23/2025           7/2/2025
  Richardson, Amanda         3:21-cv-15456     5/23/2025           7/2/2025
  Roberts, Carrie            3:21-cv-13443     5/23/2025           7/2/2025
  Robinson, Patricia         3:21-cv-13443     5/23/2025           7/2/2025
  Scarlett, Lillie           3:21-cv-15669     5/23/2025           7/2/2025
  Slack, Kaysha              3:21-cv-15600     5/23/2025           7/2/2025
  Smosny, Brittany           3:21-cv-15176     5/23/2025           7/2/2025
  Stewart, Kellie            3:21-cv-15612     5/23/2025           7/2/2025
  Sumpter, Lolita Earle      3:21-cv-15730     5/23/2025           7/2/2025
  Taylor, Letitia            3:21-cv-15667     5/23/2025           7/2/2025
  Williams, Kendra           3:21-cv-15621     5/23/2025           7/2/2025
  Yingling, Melody Menefee   3:21-cv-15821     5/23/2025           7/2/2025
  Young, Porschia            3:21-cv-15954     5/23/2025           7/2/2025


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        On May 23, 2025, the Hon. Rukhsanah L. Singh issued a Letter Order granting

  the motions to withdraw as counsel for the Plaintiffs listed in the chart above (Dkt.

  35383). The Letter Order stated that the Plaintiffs had until July 2, 2025, to have

  new counsel enter their appearance in this matter or notify the Court if they intend

  to proceed pro se. Since this deadline has not yet passed, Daniel S. Robinson of

  Robinson Calcagnie, Inc., and Jennifer Lenze of Lenze Lawyers, PLC respectfully

  ask the Court to not dismiss the cases in the chart above until sometime after the

  abovementioned July 2, 2025 deadline.


  Dated: June 26, 2025                      ROBINSON CALCAGNIE, INC.

                                            By: /s/ Daniel S. Robinson
                                            Daniel S. Robinson
                                            19 Corporate Plaza Drive
                                            Newport Beach, CA 92660
                                            (949) 720-1288
                                            mrobinson@robinsonfirm.com

                                            Former Counsel for Plaintiffs

                                            LENZE LAWYERS, PLC.

                                            By: /s/ Jennifer Lenze
                                            Jennifer Lenze
                                            999 Corporate Drive, Suite 100
                                            Ladera Ranch, California 92694
                                            (310) 322-8800
                                            jlenze@lenzelawyers.com

                                            Former Counsel for Plaintiffs




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 26, 2025, I caused the foregoing

  document to be electronically filed with the Clerk of the Court by using the

  CM/ECF system which will send a notice of electronic filing to all counsel of

  record.


                                    /s/ Daniel S. Robinson
                                  Daniel S. Robinson




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